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-EXHIBIT A-
/21 Page 2 of ARAGRIP #51179/2020

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 10/29/2020

 

 

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF KINGS Index No.:
JEANINE LEAVY, Plaintiff designates
Plaintiff(s), COUNTY OF KINGS

As the place of trial
The basis of the venue is
CPLR §503(a)

against SUMMONS
CPLR §503(a)
1710 Avenue Y

County of Kings
THE STOP & SHOP SUPERMARKET COMPANY LLC,

Defendant(s).

 

To the above-named defendant(s)

YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
copy of your answer, or, if the complaint is not served with this summons, to serve a notice
of appearance, on the plaintiffs Attorney(s) within 20 days after the service of this
summons, excluded of the day of service (or within 30 days after the service is complete if
this summons is not personally delivered to you within the State of New York); and in case
of your failure to appear or answer a judgment will be taken against you by default for the
relief demanded in the complaint.

Date: October 29, 2020

Wark J. Lindon
Mark J. Linder, Esq.
HARMON, LINDER & ROGOWSKY
Attorneys for Plaintiff(s)
3 Park Avenue, Suite 2300
New York, NY 10016
Defendants’ address:

THE STOP & SHOP SUPERMARKET
COMPANY LLC

c/o Corporation Service Company

80 State St.

Albany, NY 12207

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF KINGS

 

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JEANINE LEAVY,
Plaintiff,
-against- VERIFIED
COMPLAINT
Index No.:
THE STOP & SHOP SUPERMARKET COMPANY LLC,
Defendant.
X

 

Plaintiff complaining of the defendant herein, by her attorneys, HARMON, LINDER &
ROGOWSKY, respectfully sets forth and alleges, as follows:

AS AND FOR A FIRST CAUSE OF ACTION
ON BEHALF OF THE PLAINTIFF

1. Pursuant to CPLR §503(a), Kings County is the proper venue as that the accident
herein complained of occurred within said county.

2. That at all times herein mentioned THE STOP & SHOP SUPERMARKET COMPANY
LLC was and still is a foreign limited liability company organized in Delaware and existing
under and by virtue of the laws of the State of New York; said defendant is conducting
business in the State of New York.

3, That at all times herein mentioned, the location of the plaintiff's accident giving rise to
this action was inside the Stop & Shop supermarket located on and upon the lands and
premises at 1710 Avenue Y, in the County of Kings and State of New York.

4. That on September 9, 2020 at approximately 6:25 pm the plaintiff herein while
lawfully walking at said location became injured due to dangerous and defective
conditions. The plaintiff slipped and fell due to condition(s) including but not limited to: (1)

defective floors; (2) water, slippery substances and/or foreign substances/debris on the

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floor; (3) absence of non-slip floor matting; (4) flooring materials that became excessively
slippery when wet/substance covered; (5) presence of excessive wax and/or floor sealant:
(6) flooring materials that were potholed, sunken, uneven, broken, cracked, dilapidated,
etc. and/or (7) inadequate illumination. The plaintiff sustained severe injuries as
hereinafter set forth, due to the negligence of the defendants herein.

5. The defendant, at all relevant times, and for many hours prior thereto, caused,
created, allowed and/or permitted the floors of said location to remain in a dangerous
condition.

6. The defendant knew or should have known of said dangerous condition and should
have taken action to correct said condition.

7. The defendant, at the time of the accident, negligently caused, created, allowed
and/or permitted the floor to remain in said dangerous condition and failed to correct the
condition. Tne defendant had actual and constructive notice of the condition on the day of
the accident.

9, That defendant THE STOP & SHOP SUPERMARKET COMPANY LLC owned or
leased said location.

10. That defendant THE STOP & SHOP SUPERMARKET COMPANY LLC operated
said location.

11. That defendant THE STOP & SHOP SUPERMARKET COMPANY LLC managed
said location.

12>. That defendant THE STOP & SHOP SUPERMARKET COMPANY LLC maintained

said location.

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13. That defendant THE STOP & SHOP SUPERMARKET COMPANY LLC controlled
said location.

14. That defendant THE STOP & SHOP SUPERMARKET COMPANY LLC through its
acts and/or omissions negligently, carelessly, inadequately and/or improperly
repaired/cleaned and/or failed to repair/clean said location.

15. That defendant THE STOP & SHOP SUPERMARKET COMPANY LLC negligently
and/or carelessly owned, operated, controlled, maintained and managed said location.
16. That defendant, its agents, servants and/or employees thorough its acts and/or
omissions were careless and negligent in the ownership, operation and control of said
location; in causing, allowing and/or permitting said location to become and remain in
dangerous condition, wet, slippery substance covered, unmaintained, negligent, improper
and/or unsafe condition; in failing to make proper, adequate, timely and necessary
cleaning; in causing, allowing and/or permitting said location to be and remain ina
hazardous condition; in failing to make proper, timely and adequate inspection thereof; in
failing to maintain the aforesaid premises in a proper manner; in the negligent and
dangerous design, installation, maintenance and management of the aforesaid area; in
failing to set up proper safeguards and/or barriers; in failing to warn persons lawfully
traversing the area of the aforesaid dangerous and hazardous condition; in failing to have
sufficient and adequate manpower; in failing to protect invitee of said area; in creating a
nuisance or trap; in failing to provide and/or use proper equipment; in failing to correct a
reoccurring dangerous condition; and in otherwise failing to use due care, caution and

prudence on the premises.

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17. That the defendant was at all times under a duty to keep said location in a safe,
proper and secured manner, in a cleaned and free from obstruction and slippery
substances.

18. That as a result of the foregoing, the plaintiff was caused to and did sustain severe
and serious injuries and was required to seek and obtain medical care and attention in an
effort to cure and alleviate same and, upon information and belief will be compelled to do
so in the future.

19. That this occurrence and the injuries sustained by the plaintiff were caused by the
negligence of defendant without any negligence on the part of the plaintiff contributing
thereto.

20. That this action falls within one or more of the exceptions set forth in Section 1602
of the CPLR.

21. That by reason of the foregoing, plaintiff has been damaged in an amount which

exceeds the jurisdictional limits of all lower courts that would otherwise have jurisdiction.

AS AND FOR A SECOND CAUSE OF ACTION
ON BEHALF OF THE PLAINTIFF

22. Plaintiff repeats and re-alleges each and every allegation contained in paragraphs
"4" through "21", as if the same were fully herein after set forth at length.
23. That the defendant's conduct as earlier described was negligent and careless in inter
alla:
(a) Failing to take proper precautions for the safety and wellbeing of the
plaintiff;

(b) That the defendant was negligent in the hiring, screening, training,

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and supervising of its employees, agents, contractors, vendors, etc.,
(c) Failing to adopt appropriate procedures for the protection of its
invitees including the plaintiff;
(d) Negligence at law.
24. That the defendant should have known that its failure in such regards would cause
harm.
25. That by reason of the foregoing, plaintiff has been damaged in an amount which
exceeds the jurisdictional limits of all lower courts that would otherwise have jurisdiction.
WHEREFORE, plaintiff demands judgment against the defendant on the First
and Second Causes of Action together with interest and the costs and disbursements of
this action.

Dated: New York, New York
October 29, 2020

Wank J. Linden

Mark J. Linder, Esq.

HARMON, LINDER & ROGOWSKY
Attorneys for Plaintiff

3 Park Avenue, 23% Floor, Suite 2300
New York, NY 10016

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ATTORNEY’S VERIFICATION

STATE OF NEW YORK __ )
COUNTY OF NEW YORK *

|, the undersigned, am an attorney admitted to practice in the Courts of New York
State, and say that:

| am the attorney of record or of counsel with the attorney(s) of record for the
plaintiff.

| have read the annexed SUMMONS AND VERIFIED COMPLAINT and know the
contents thereof and the same are true to my knowledge, except those matters therein
which are stated to be alleged on information and belief. As to those matters, | believe
them to be true. My belief, as to those matters therein not stated upon knowledge is
based upon the following:

Interviews and/or discussions held with the plaintiff(s) and papers and/or
documents in the file.

The reason | make this affirmation instead of the plaintiff is because said plaintiff
resides outside of the county from where your deponent maintains his office for the
practice of law.

Dated: New York, NY

October 29, 2020
Wank J. Lindearr

 

Mark J. Linder, Esq.

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Index No.: Year:

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF KINGS

 

JEANINE LEAVY,
Plaintiff(s),

-against-

THE STOP & SHOP SUPERMARKET COMPANY LLC,
Defendant(s).

 

VERIFIED SUMMONS AND COMPLAINT

 

HARMON, LINDER & ROGOWSKY
Attorneys for Plaintiff
3 Park Avenue, Suite 2300
New York, NY 10016
Tel: (212) 732-3665 Fax: (212) 732-1462

 

To:
Attorney(s) for

 

Service of a Copy of the within is hereby admitted.

Dated: petinusehuscsoett
Attorneys for

 

PLEASE TAKE NOTICE:

NOTICE OF That the within is a (certified) true copy of a
ENTRY entered in the office of the clerk of the within named Court on 20
NOTICE OF that an Order of which the within is a true copy will be presented for settlement to the
SETTLEMENT Hon. one of the Judges of the within named Court, on
20 , at M.
Dated:

HARMON, LINDER & ROGOWSKY
Attorneys for Plaintiff
3 Park Avenue, Suite 2300
New York, NY 10016
Tel: (212) 732-3665 Fax: (212) 732-1462

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